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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA                         )

vs.                                              )   CRIMINAL ACTION NO. 10-00222-KD

JOSEPH EDGAR HEMPFLENG,                          )

       Defendant.                                )

                                             ORDER

       This action is before the Court on defendant Joseph Edgar Hempfleng’s motion for

investigative services (doc. 106). Hempfleng states that as a component of his indictment, he is

charged with the death of Travis A. Margetta which has enhanced his penalty. Hempfleng

argues that he has obtained some discovery in regard to Margetta’s death but is in need of

investigative services to investigate the death in order to rebut the sentencing enhancement. The

docket indicates that Hempfleng was financially unable to obtain counsel and counsel was

appointed (doc. 93).

       A defendant who is financially unable to obtain expert services necessary for adequate

representation may file an ex parte application for those services to be provided at the United

States’ expense. In that regard, 18 U.S.C. ' 3006A(e)(1) provides as follows:

       (1) Upon request.-- Counsel for a person who is financially unable to obtain
       investigative, expert, or other services necessary for adequate representation may
       request them in an ex parte application. Upon finding, after appropriate inquiry in
       an ex parte proceeding, that the services are necessary and that the person is
       financially unable to obtain them, the court, or the United States magistrate judge
       if the services are required in connection with a matter over which he has
       jurisdiction, shall authorize counsel to obtain the services.

18 U.S.C. ' 3006A(e)(1).

       Upon consideration, the undersigned finds that the services of an investigator are
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necessary for adequate representation and that Hempfleng is financially unable to obtain the

expert services. Accordingly, Hempfleng’s request for appointment of an investigator is

GRANTED and Hempfleng is approved to expend up to $2,400.00 for the services. See 18

U.S.C. ' 3006A(e)(3) (Compensation shall not exceed $2,400.00 unless certified by the court

and approved by the chief judge of the circuit).

       DONE and ORDERED this November 2, 2010.


                                             s/ Kristi K. DuBose
                                             KRISTI K. DuBOSE
                                             UNITED STATES DISTRICT JUDGE
